AO 245B (Rev. 09/19) Judgment in a Criminal Case



                                   UNITED STATES DISTRICT COURT
                                                   EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                          v.                                       Case Number: 19-CR-201
                                                                   USM Number: 17251-089
JUAN M. CARDENAS
                                                                   Thomas J. Erickson                Daniel R. Humble
                                                                   Defendant’s Attorney              Assistant United States Attorney



        THE DEFENDANT pled guilty to count two of the indictment The Defendant is adjudicated guilty of
these offense(s):

              Title & Section                                    Nature of Offense                     Date Concluded Count(s)
 18 U.S.C. §§ 922(a)(6) and 924(a)(2)                False Statement to a Licensed Firearms Dealer          July, 2019             2


       The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
Court and the United States Attorney of material changes in economic circumstances.


                                                                        Date Sentence Imposed: November 6, 2020

                                                                        s/ William C. Griesbach
                                                                        United States District Judge

                                                                        Date Judgment Entered: November 10, 2020




                       Case 1:19-cr-00201-WCG Filed 11/10/20 Page 1 of 6 Document 49
                                                                                                      Page 2 of 6

AO 245B (Rev. 09/19) Judgment in a Criminal Case
DEFENDANT: JUAN M. CARDENAS
CASE NUMBER: 19-CR-201
                                                        PROBATION
          You are hereby sentenced to probation for a term of three (3) years.


                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess or use a controlled substance.
   ☐ You must submit to one drug test within 15 days of release from imprisonment and at least two periodic
      drug tests thereafter, as determined by the court. (check if applicable)
   ☐ The above drug testing condition is suspended based on the court's determination that the defendant
      poses a low risk of future substance abuse. (check if applicable)
3. ☐ You must make restitution in accordance with 18 U.S.C. §§ 3363 and 3363A or any other statute
      authorizing a sentence of restitution. (check if applicable)
4. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34
      U.S.C. § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex
      offender registration agency in the location where you reside, work, are a student, or were convicted of a
      qualifying offense. (check if applicable)
6. ☐ You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached pages.




                       Case 1:19-cr-00201-WCG Filed 11/10/20 Page 2 of 6 Document 49
                                                                                                       Page 3 of 6

AO 245B (Rev. 09/19) Judgment in a Criminal Case
DEFENDANT: JUAN M. CARDENAS
CASE NUMBER: 19-CR-201


                                   STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for your behavior while on
supervision and identify the minimum tools needed by probation officers to keep informed, report to the court
about, and bring about improvements in your conduct and condition.

1. You shall report to the probation office in the district to which you are released within 72 hours of your
    release from the custody of the Bureau of Prisons and shall report to the probation officer in a manner and
    frequency as reasonably directed by the Court or probation officer.
2. You shall not leave the State of Wisconsin without permission of the court or probation officer.
3. You shall answer truthfully all inquiries by the probation officer, subject to your Fifth Amendment right
    against self-incrimination, and follow the reasonable instructions of the probation officer.
4. You shall use your best efforts to find and hold lawful employment, unless excused by the probation officer
    for schooling, training, or other acceptable reasons.
5. You shall notify the probation officer at least ten days prior to any change in your place of residence or
    employment. When such notification is not possible, you shall notify the probation officer within 72 hours
    of the change.
6. You shall not knowingly go to places or enter buildings where controlled substances are unlawfully sold,
    used, distributed, or administered.
7. You shall not associate with any persons known by you to be engaged or planning to be engaged in criminal
    activity. “Associate,” as used here, means reside with or regularly socialize with such person.
8. You shall permit a probation officer to visit you at reasonable times at home and shall permit confiscation of
    any contraband observed in plain view of the probation officer.
9. You shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement
    officer.
10. You shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
    without the permission of the court.




                       Case 1:19-cr-00201-WCG Filed 11/10/20 Page 3 of 6 Document 49
                                                                                                         Page 4 of 6

AO 245B (Rev. 09/19) Judgment in a Criminal Case
DEFENDANT: JUAN M. CARDENAS
CASE NUMBER: 19-CR-201

                                     SPECIAL CONDITIONS OF SUPERVISION
1. The defendant is to participate in a program of testing to include not more than six urinalysis tests per month
   and residential or outpatient treatment for drug and alcohol abuse, as approved by the supervising probation
   officer, until such time as he or she is released from such program. The defendant shall pay the cost of this
   program under the guidance and supervision of the supervising probation officer. The defendant shall also
   refrain from the excessive use of alcoholic beverages throughout the supervised release term. Excessive as
   used here shall be defined as exceeding a blood alcohol level of 0.08% or otherwise engaging in criminal
   conduct while under the influence of alcohol.
2. The defendant shall submit his or her person, property, house, residence, vehicle, office, papers, computers,
   other electronic communications or data storage devices, or media, to a search conducted by the United
   States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The
   defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
   condition. An officer may conduct a search pursuant to this condition only when reasonable suspicion
   exists that the offender has violated a condition of their release and that the areas to be searched may contain
   evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.




                       Case 1:19-cr-00201-WCG Filed 11/10/20 Page 4 of 6 Document 49
                                                                                                                     Page 5 of 6

AO 245B (Rev. 09/19) Judgment in a Criminal Case
DEFENDANT: JUAN M. CARDENAS
CASE NUMBER: 19-CR-201

                                          CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the attached
page.

        Total Special
         Assessment               AVAA Assessment*     JVTA Assessment**            Total Fine           Total Restitution
          $100.00                       $                     $                         $                       $

☐         The determination of restitution is deferred until _____. An Amended Judgment in a Criminal Case (AO 245C)
          will be entered after such determination.

☐         The defendant must make restitution (including community restitution) to the following payees in the amount
          listed below.

If a defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However,
pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

                                 PAYEE                                                    AMOUNT




                                                     TOTAL:

☐         Restitution amount ordered pursuant to plea agreement: $_____.
☐         The defendant must pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
          paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
          payment options on the Schedule of Payments may be subject to penalties for delinquency and default, pursuant
          to 18 U.S.C. § 3612(g).
☐         The court determined that the defendant does not have the ability to pay interest, and it is ordered that the interest
          requirement is waived for the ☐ fine ☐ restitution.

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.




                       Case 1:19-cr-00201-WCG Filed 11/10/20 Page 5 of 6 Document 49
                                                                                                                    Page 6 of 6

AO 245B (Rev. 09/19) Judgment in a Criminal Case
DEFENDANT: JUAN M. CARDENAS
CASE NUMBER: 19-CR-201

                                                   SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as
follows:

 A         ☒         Lump sum payment of $100.00 due immediately

 B         ☐         Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

 C         ☐         Payment in equal monthly installments of not less than $_____ or 10% of the defendant’s net earnings,
                     whichever is greater, until paid in full, to commence 30 days after the date of this judgment; or

 D         ☐         Payment in equal monthly installments of not less than $_____ or 10% of the defendant’s net earnings,
                     whichever is greater, until paid in full, to commence 30 days after release from imprisonment to a term
                     of supervision; or

 E         ☐         Payment during the term of supervised release will commence within 30 days after release from
                     imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to
                     pay at that time; or

 F         ☐         Special instructions regarding the payment of criminal monetary penalties: _____________

        Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made through
the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

☐         Joint and Several

          Case Number
          Defendant and Co-Defendant Names                              Joint and Several         Corresponding Payee,
          (including defendant number)                 Total Amount         Amount                    if appropriate


☐         The defendant shall pay the cost of prosecution; or ☐ The defendant shall pay the following court costs:

☐         The defendant shall forfeit the defendant's interest in the following property to the United States:

        Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties,
and (10) costs, including cost of prosecution and court costs.




                       Case 1:19-cr-00201-WCG Filed 11/10/20 Page 6 of 6 Document 49
